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                                                                          Ross Sullivan and Kelleen Sullivan
                                                                     6
                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                     7                                NORTHERN DISTRICT OF CALIFORNIA
                                                                                                              OAKLAND DIVISION
                                                                     8
                                                                         In re                                                  Case No. 17-10065-RLE
                                                                     9
                                                                                  SVC,                                          Chapter 11
                                                                    10
                                                                                                                                SULLIVANS’ OBJECTION TO
                                                                    11                                  Debtor.                 SCHEDULED CLAIM OF TROVE
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                                                                                                                                PROFESSIONAL SERVICES LLC
                                                                    12
                                        SAN FRANCISCO, CALIFORNIA




                                                                                                                                Pursuant to L.B.R. 9014-1, no hearing unless objection
                                                                    13
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                                                                                                                                filed or hearing requested.

                                                                    14            Pursuant to section 502 of Title 11 of the Bankruptcy Code and Federal Rule of Bankruptcy
                                                                    15   Procedure 3007, Ross and Kelleen Sullivan (the “Sullivans”) hereby object (the “Objection”) to the
                                                                    16   scheduled claim of Trove Professional Services LLC (“Claimant”). The Debtor scheduled a non-
                                                                    17   contingent, non-disputed, liquidated unsecured claim in the amount of $9,000.00 in favor of
                                                                    18   Claimant relating to services to be supplied under a cost-saving agreement (the “Trove Scheduled
                                                                    19   Claim”). However, the Sullivans have recently determined that the Trove Scheduled Claim was
                                                                    20   improperly calculated based on faulty advice. As discussed below, the amount due to Claimant on
                                                                    21   the Petition Date was less than $150.00.
                                                                    22                                                     I.
                                                                    23                                         STATEMENT OF FACTS
                                                                    24            Before the bankruptcies here were filed, the business formerly known as Sullivan Vineyards
                                                                    25   Corporation, and now known as SVC (the “Debtor”) worked with Claimant on a cost-saving
                                                                    26   initiative under which the Debtor paid Claimant for certain operational savings realized by the
                                                                    27   winery. Under this arrangement, each month, the Debtor paid Claimant $537.94. Indeed, on
                                                                    28   February 2, 2017, the Debtor used check number 7855 to pay all amounts due to Claimant through

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                                                                     1   January 2017. Just a week or so later, on February 10, 2017 (the “Petition Date”), the Debtor

                                                                     2   commenced its bankruptcy case by filing a voluntary petition under chapter 11 of the Bankruptcy

                                                                     3   Code.

                                                                     4            On February 15, 2017, the Debtor filed its schedules herein at Docket Number 25 (the

                                                                     5   “Schedules”). On page 33 of 40, the Debtor scheduled a non-contingent, liquidated, undisputed

                                                                     6   claim in the amount of $9,000.00 for Claimant. See Excerpt of Schedules, page 33 of 40, attached

                                                                     7   hereto as Exhibit A. The Sullivans now understand the Trove Scheduled Claim was the product of

                                                                     8   bad advice, and should never have been set anywhere near so high. After all, while amounts due

                                                                     9   from February 1 to February 10, 2017 likely constitute a pre-petition claim against the Debtor’s

                                                                    10   estate, any other amounts due and owing thereafter under that contract (if any) would be an

                                                                    11   administrative claim, not a pre-petition claim. Using a simple yardstick of 10/28ths, the Sullivans
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                                                                    12   believe that the actual pre-petition claim held by Claimant cannot and should not exceed $192.12,
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                                                                    13   and ask that the Schedules on file in this case be amended to reflect this reduced amount.
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                                                                    14                                                      II.

                                                                    15                                          RELIEF REQUESTED

                                                                    16            Pursuant to section 502 of the Bankruptcy Code, the Sullivans object to the Trove Scheduled

                                                                    17   Claim on the ground that the Debtor was only liable for $192.12, and ask that the Trove Scheduled

                                                                    18   Claim be deemed amended to reflect such amount.

                                                                    19                                                     III.

                                                                    20                                           LEGAL ARGUMENT

                                                                    21   A.       Trove’s Pre-Petition Claim is for 10 Days of Service and Does Not Exceed $192.12

                                                                    22            The Debtor incorrectly scheduled the Trove Scheduled Claim due to faulty legal advice. As

                                                                    23   explained above, the only amount that could possibly be due and owing as of the Petition Date is

                                                                    24   $192.12. Any savings realized after the Petition Date and subject to the parties’ agreement would be

                                                                    25   administrative claims under Bankruptcy Code section 503.

                                                                    26   B.       Trove Bears the Burden of Proof

                                                                    27            The schedule of liabilities filed pursuant to section 521(a)(1) of the Bankruptcy Code

                                                                    28   constitutes prima facie evidence of the validity and amount of claims of creditors, unless claims are

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                                                                     1   scheduled as disputed, contingent, or unliquidated. Fed. R. Bankr. P. 3003(b)(1). However,

                                                                     2   scheduled amounts that are not listed as being contingent, unliquidated or disputed are no different

                                                                     3   from proof of claim amounts. See 11 U.S.C. §1111(a). Accordingly, a party may object to a

                                                                     4   scheduled amount as if it were a proof of claim.

                                                                     5            When a party in interest objects to a scheduled claim, as is the case here, and raises “facts

                                                                     6   tending to defeat the claim by probative force,” Wright v. Holm (In re Holm), 931 F.2d 620, 623 (9th

                                                                     7   Cir. 1991), then “the burden reverts to the claimant to prove the validity of the claim by a

                                                                     8   preponderance of the evidence.” Ashford v. Consolidated Pioneer Mortgage (In re Consolidated

                                                                     9   Pioneer Mortgage) 178 B.R. 222, 226 (9th Cir. B.A.P. 1995), aff’d 91 F.3d 151 (9th Cir. 1996).

                                                                    10   “[T]he ultimate burden of persuasion is always on the claimant.” Holm, 931 F.2d at 623.

                                                                    11            As set forth above, the Sullivans submit that all amounts due to Claimant through the end of
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                                                                    12   January 2017 were paid to Claimant pre-petition. Accordingly, the Trove Scheduled Claim should
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                                                                    13   be disallowed and revised down to not more than $192.12. If Claimant believes that the Trove
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                                                                    14   Scheduled Claim is valid and enforceable against the Debtor, it must present affirmative evidence

                                                                    15   demonstrating the validity of its claim against the Debtor.

                                                                    16                                                        IV.

                                                                    17                                        RESERVATION OF RIGHTS

                                                                    18            The Sullivans reserve the right, consistent with the local rules of this district, orders of the

                                                                    19   Court, and any applicable law, to amend, modify, and/or supplement this Objection, and to file

                                                                    20   additional, other, or further objections to any proofs of claims filed in this case, including, without

                                                                    21   limitation, objections as to the amounts asserted therein, or any other claims (filed or not) against the

                                                                    22   Debtor, regardless of whether such claims are subject to this Objection. Should one or more of the

                                                                    23   grounds of objection stated in this Objection be dismissed, the Sullivans Trustee reserve the right to

                                                                    24   object on other stated grounds or on any other grounds that it discovers during the pendency of this

                                                                    25   bankruptcy case.

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                                                                     1                                                       V.

                                                                     2                                               CONCLUSION

                                                                     3            For all the foregoing reasons, the Sullivans respectfully request that the Court enter an order:

                                                                     4   (a) sustaining this Objection, (b) disallowing the Trove Scheduled Claim, (c) deeming the Debtor’s

                                                                     5   schedules amended to give Claimant a pre-petition general unsecured claim of $192.12, and (d)

                                                                     6   granting the Sullivans such other and further relief as may be appropriate under the circumstances.

                                                                     7   Dated: January 28, 2019                      PACHULSKI STANG ZIEHL & JONES LLP

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                                                                                                                   By: /s/ John D. Fiero
                                                                     9                                                John D. Fiero
                                                                                                                      Attorneys for Equity Owners
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                                                                                                                      Ross Sullivan and Kelleen Sullivan
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                                          EXHIBIT A

                                     (Excerpt of Schedules)




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